       Case 8-18-78114-las            Doc 15       Filed 01/28/19      Entered 01/28/19 16:07:39




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK (CENTRAL ISLIP)
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 In Re:
                                                                            Case No 8-18-78114-las
 Paula Marie Noto,                                                          Chapter 13
   Debtor.

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                                 NOTICE OF APPEARANCE AND
                               REQUEST FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE THAT the undersigned counsel hereby appears on behalf of
Federal National Mortgage Assocation ("Fannie Mae"), (the "Secured Creditor”). Pursuant to
Rule 2002 of the Federal Rules of Bankruptcy Procedure, the undersigned requests all notices
given or required to be given and all papers required to be served in this case to creditors, any
creditors committees, and any other parties-in-interest, be sent to and served upon the
undersigned counsel and the following be added to the Court’s Master Mailing List:




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                                                                                        8-18-78114-las
                                                           NOTO, PAULA NOTO, PAULINE NOTO, ANTHONY
                                                                                                 NOA
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                            Stephani A. Schendlinger, Esq.
                              RAS BORISKIN, LLC
                     900 MERCHANTS CONCOURSE, SUITE 310
                             WESTBURY, NY 11590

Dated: December 18, 2018
Westbury, NY


                                       RAS BORISKIN, LLC
                                       ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                       Attorney for Secured Creditor
                                       900 Merchants Concourse, Suite 310
                                       Westbury, NY 11590
                                       -and-
                                       6409 Congress Ave., Suite 100
                                       Boca Raton, FL 33487
                                       Phone: (516) 280-7675
                                       Fax: (516) 280-7674

                                       By: /s/ Stephani A. Schendlinger
                                       Stephani A. Schendlinger, Esquire




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 In Re:
                                                                            Case No 8-18-78114-las
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    Debtor.
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                                    CERTIFICATION OF SERVICE

          I HEREBY CERTIFY that on January 28, 2019, I caused the foregoing Notice of

Appearance and Request for Service to be electronically filed with the Clerk of Court by using

the CM/ECF system, and a true and correct copy has been served via CM/ECF or United States

Mail to the following parties:

PAULA MARIE NOTO
193 FAIR HARBOR DRIVE
PATCHOGUE, NY 11772-2000

COOPER J MACCO
RICHARD L. STERN, PC
2950 EXPRESS DRIVE SOUTH
SUITE 109
ISLANDIA, NY 11749

MARIANNE DEROSA
STANDING CHAPTER 13 TRUSTEE
125 JERICHO TPKE
SUITE 105
JERICHO, NY 11753


Dated: December 18, 2018
Westbury, NY



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                                      RAS BORISKIN, LLC
                                      ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                      Attorney for Secured Creditor
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                                      Westbury, NY 11590
                                      -and-
                                      6409 Congress Ave., Suite 100
                                      Boca Raton, FL 33487
                                      Phone: (516) 280-7675
                                      Fax: (516) 280-7674


                                      By: /s/ Stephani A. Schendlinger
                                      Stephani A. Schendlinger, Esquire




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